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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                              NORTHWESTERN DIVISION

United States of America,                      )
                                               )       ORDER GRANTING MOTION
               Plaintiff,                      )       TO SEAL
                                               )
       vs.                                     )
                                               )       Case No.: 4:12-mj-157
Shannon O’Connor,                              )
                                               )
               Defendant.                      )
                                               )

       On motion of the Government and for the reasons stated in support of the motion,

       IT IS ORDERED that in the above-captioned matter, the Criminal Complaint, including

Affidavit of Francis W. Gasper, Special Agent, Federal Bureau of Investigation, the Motion to Seal,

and this Order are sealed until further order of this court.

       Dated this 20th day of September, 2012.
                                                       /s/ Charles S. Miller, Jr.
                                                       Charles S. Miller, Jr.
                                                       United States Magistrate Judge




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